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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

AQUA CONNECT, INC. and STRATEGIC                   )
TECHNOLOGY PARTNERS, LLC,                          )
                                                   )
                       Plaintiffs,                 )
                                                   )
                                                       C.A. No. 18-01572-MN
               v.                                  )
                                                       Consolidated
                                                   )
TEAMVIEWER US, INC. and                            )
TEAMVIEWER GERMANY GMBH,                           )
                                                   )
                       Defendants.                 )


                                        VERDICT FORM

                                         INSTRUCTIONS

        In answering the following questions and filling out this Verdict Form, please follow the

directions provided throughout the form. Your answer to each question must be unanimous.

Please refer to the Jury Instructions for guidance on the law applicable to the subject matter covered

by each question.

        As used herein:

        1.     “The ’386 Patent” refers to U.S. Patent Number RE46,386; and

        2.     “The ’502 Patent” refers to U.S. Patent Number 8,924,502.

        These two patents are together sometimes referred to as “the Patents-in-Suit.”

        “Aqua Connect” refers to Plaintiffs Aqua Connect, Inc. and Strategic Technology Partners,

LLC. “TeamViewer” refers to Defendants TeamViewer US, Inc. and TeamViewer Germany

GmbH.




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                      INFRINGEMENT OF THE PATENTS-IN-SUIT

Question No. 1:       Did Aqua Connect prove by a preponderance of the evidence that
                      TeamViewer directly infringes any of the following claims of the Patents-
                      in-Suit listed below?

                                         Yes                           No
                                  (for Aqua Connect)           (for TeamViewer)

   The ’502 Patent
   (MacOS Version):

          Claim 25                     _________                   _________

          Claim 27                     _________                   _________



   The ’502 Patent
   (iOS Version):

          Claim 25                     _________                   _________

          Claim 27                     _________                   _________



   The ’386 Patent
   (MacOS Version):

          Claim 25                     _________                   _________

          Claim 27                     _________                   _________


   The ’386 Patent
   (iOS Version):

          Claim 25                     _________                   _________

          Claim 27                     _________                   _________




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Question No. 2:       Did Aqua Connect prove by a preponderance of the evidence that
                      TeamViewer induces infringement of any of the following claims of the
                      Patents-in-Suit listed below?

                                         Yes                         No
                                  (for Aqua Connect)         (for TeamViewer)

   The ’502 Patent
   (MacOS Version):

          Claim 25                    _________                  _________

          Claim 27                    _________                  _________



   The ’502 Patent
   (iOS Version):

          Claim 25                    _________                  _________

          Claim 27                    _________                  _________



   The ’386 Patent
   (MacOS Version):

          Claim 25                    _________                  _________

          Claim 27                    _________                  _________


   The ’386 Patent
   (iOS Version):

          Claim 25                    _________                  _________

          Claim 27                    _________                  _________




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Question No. 3:       Did Aqua Connect prove by a preponderance of the evidence that
                      TeamViewer contributes to infringement of any of the following claims of
                      the Patents-in-Suit listed below?

                                         Yes                           No
                                  (for Aqua Connect)           (for TeamViewer)

   The ’502 Patent
   (MacOS Version):

          Claim 25                     _________                   _________

          Claim 27                     _________                   _________



   The ’502 Patent
   (iOS Version):

          Claim 25                     _________                   _________

          Claim 27                     _________                   _________



   The ’386 Patent
   (MacOS Version):

          Claim 25                     _________                   _________

          Claim 27                     _________                   _________


   The ’386 Patent
   (iOS Version):

          Claim 25                     _________                   _________

          Claim 27                     _________                   _________




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                          INVALIDITY OF THE PATENTS-IN-SUIT

Question No.4:          Did TeamViewer prove by clear and convincing evidence that one or more
                        of the following claims of the ’502 Patent or the ’386 Patent is invalid
                        because it is anticipated?

                                             Yes                        No
                                      (for TeamViewer)          (for Aqua Connect)

     The ’502 Patent:

            Claim 25                     _________                   _________

            Claim 27                     _________                   _________


     The ’386 Patent

            Claim 25                     _________                   _________

            Claim 27                     _________                   _________



Question No. 5:     Did TeamViewer prove by clear and convincing evidence that one or more
                    of the following claims of the ’502 Patent or the ’386 Patent is invalid
                    because it would have been obvious to a person of ordinary skill in the art at
                    the time of the claimed invention?

                                             Yes                        No
                                      (for TeamViewer)          (for Aqua Connect)

     The ’502 Patent:

            Claim 25                     _________                   _________

            Claim 27                     _________                   _________


     The ’386 Patent

            Claim 25                     _________                   _________

            Claim 27                     _________                   _________



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                                            DAMAGES

        Answer these questions only if you find that at least one of the claims of the Patents-in-Suit
is infringed and not invalid. If you answered “Yes” to Question Nos. 1, 2 or 3 (patent
infringement) and “No” to Questions Nos. 4 and 5 (invalidity) for any one or more claims, you
must answer Question Nos. 6 and 7. Otherwise, skip to the end of the Verdict Form.


Question No. 6         What amount of damages has Aqua Connect proven by a preponderance
                       of the evidence it is entitled to recover?


                        $ _______________________________________



Question No. 7         Is the number you provided above in Question No. 6 a lump sum or a
                       running royalty? (Choose one).


                       Lump Sum                _______

                       Running Royalty         _______




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                                 UNANIMOUS VERDICT

       Upon reaching a unanimous verdict on each question above, each juror must sign below,
and the foreperson should add the date.

       We, the jury, unanimously agree to the answers to the above questions and return them
under the instructions of this Court as our verdict in this case.


Foreperson    __________________________________________



Juror         __________________________________________



Juror         __________________________________________



Juror         __________________________________________



Juror         __________________________________________



Juror         __________________________________________



Juror         __________________________________________



                                                   August __, 2022.




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